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      RUSSELL L. LOW, ESQ. RLL-4745
      LOW & LOW, ESQS.
      505 Main Street - Suite 304
      Hackensack, New Jersey 07601                                           Order Filed on April 2, 2019
                                                                                       by Clerk
      (201) 343-4040                                                           U.S. Bankruptcy Court
      Attorneys for Debtor                                                     District of New Jersey



      ______________________________________________________________________________
      In Re:                        :     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY

      Leticia Gardner                    :      CHAPTER 13

                                         :      CASE NO. 19-15831

                                         :      HONORABLE MICHAEL B. KAPLAN

      Debtor.                       :     Hearing Date: March 26, 2019 at 9:00 a.m.
      ______________________________________________________________________________
                        ORDER IMPOSING THE AUTOMATIC STAY
      ______________________________________________________________________________




             The relief set forth on the following page is hereby ORDERED.




DATED: April 2, 2019
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This matter having been presented to the Court by Russell L. Low, Esq. and, for good cause it is

       ORDERED that:

       the Automatic Stay is Imposed as to Caliber Home Loans, Inc. and as to all Creditors that

were served with this Motion, effective the date of this Order until April 23, 2019.
